
725 S.E.2d 872 (2012)
STATE
v.
Kenneth Wayne VAUGHN.
No. 237P12-1.
Supreme Court of North Carolina.
June 4, 2012.
Kimberly P. Hoppin, Attorney at Law, for Vaughn, Kenneth Wayne.
Robert C. Montgomery, Special Deputy Attorney General, for State of North Carolina.
C. Colon Willoughby, Jr., District Attorney, for State of North Carolina.
*873 The following order has been entered on the motion filed on the 4th of June 2012 by State of NC for Temporary Stay:
"Motion Allowed by order of the Court in conference, this the 4th of June 2012."
